                                In the
                           Court of Appeals
                   Second Appellate District of Texas
                            at Fort Worth
                                 No. 02-23-00411-CV

T.B., Appellant                            §   On Appeal from the 16th District Court

                                           §   of Denton County (22-4175-16)
V.
                                           §   August 22, 2024

B.B., Appellee                             §   Memorandum Opinion by Justice Kerr


                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was error in part of the trial court’s judgment. It is ordered that the trial court’s

judgment is affirmed in part and reversed and remanded in part. We affirm the

divorce grant but reverse the cruelty finding. We also reverse the trial court’s division

of the marital estate, including all community property and debts, and we reverse all

provisions regarding the Marton Precision Manufacturing, LLC stock. We modify the

money judgment awarded to Mother from $504,754.64 to $455,230.19. We affirm the
remainder of the Final Decree and remand the case for a limited new trial solely on

the issues of (1) the ground(s) for divorce and (2) a just and right division of the

marital estate.

       It is further ordered that each party shall bear their own costs of this appeal.


                                        SECOND DISTRICT COURT OF APPEALS


                                        By _/s/ Elizabeth Kerr__________________
                                           Justice Elizabeth Kerr
